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                       IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO


JESUS MARTINEZ GOMEZ,

               Plaintiff,

v.                                                 Case No.

DONALD BLAKELEY and
MARKET EXPRESS, LLC,

               Defendants.


                                   NOTICE OF REMOVAL

       Defendants Market Express, LLC, and Donald Blakeley, by and through undersigned

counsel, and pursuant to 28 U.S.C. §§ 1332(a), 1441(a) and (b), and 1446, and the applicable

Local Rules of the United States District Court for the District of New Mexico, hereby remove

the above-captioned civil action from the Thirteenth Judicial District Court of the State of New

Mexico, Cibola County, to the United States District Court for the District of New Mexico. In

support thereof, Defendants state as follows:

                                  I. PROCEDURAL HISTORY

               1. Plaintiff Jesus Martinez Gomez (“Gomez”) commenced a civil action against

Defendants in the Thirteenth Judicial District Court, County of Cibola, State of New Mexico,

captioned Jesus Martinez Gomez v. Donald Blakeley and Market Express, LLC, Cause No. D-

1333-CV-2022-00090. See Complaint, attached hereto as Exhibit A.

               2. Defendant Market Express, LLC was served with the Complaint on June 14,

2022. See Court Docket, attached as Exhibit B.

               3. No other defendant has been served with the Complaint.
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               4. The Notice of Removal has been filed in accordance with 28 U.S.C.

§§1441(b) and 1446.

                              II.     TIMELINESS OF REMOVAL

               5. This Notice of Removal is filed within 30 days of Defendant Market Express,

LLC’s receipt of service upon it.

               6. Therefore, this Notice of Removal is timely filed pursuant to 28 U.S.C. §

1446(b). Moreover, the matter has been pending for less than one year.

               7. Pursuant to 28 U.S.C. § 1446(b)(1), this Notice of Removal is timely.

                                       III.    BASIS FOR REMOVAL

               8. Removal of this case is proper under 28 U.S.C. §1441 and 28 U.S.C. §1332,

because complete diversity of citizenship exists between the Plaintiff and Defendants and based

upon assertions in the Complaint and a demand issued by Plaintiff, the amount in controversy

exceeds Seventy-Five Thousand Dollars ($75,000.00) exclusive of costs and interest.

       A. Diversity of Citizenship

           The Parties in this Action are Citizens of Different States.

               9. For diversity purposes, a person is a “citizen” of the state in which he is

domiciled.” Kantor v. Wellesley Galleries, Ltd., 704 F.2d 1088, 1090 (9th Cir. 1983). Residence

is prima facie evidence of domicile. State Farm Mut. Auto Ins. Co. v. Dyer, 19 F.3d 514, 520

(10th Cir. 1994).

               10. Plaintiff is a resident of Orange County, Florida. (See Exhibit A at ¶ 9).

Accordingly, Plaintiff is also a citizen of the State of Florida.

               11. Defendant Donald Blakeley is a resident of Henderson, Nevada. (See Exhibit

A at ¶ 12). Accordingly, he is also a citizen of the State of Nevada.
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               12. Defendant Market Express, LLC is a limited liability company formed under

the laws of Oregon, with its headquarters located in Portland, Oregon. An LLC is deemed to be a

citizen of the state where each of its members resides. No member of Market Express, LLC is a

resident or citizen of New Mexico. Accordingly, Defendant Market Express, LLC can be

considered a citizen of Oregon.        For purposes of removal jurisdiction, Defendant Market

Express, LLC is not a citizen of New Mexico.

               13. Based upon the foregoing, for purposes of removal jurisdiction, complete

diversity exists between Plaintiff and Defendants.

       B. Value of Matter in Controversy

               14. Under 28 U.S.C. §1441(a), “the amount in controversy is ordinarily

determined by the allegations of the complaint, or, where they are not dispositive, by the

allegations in the notice of removal.” Martin v. Franklin Capital Corp., 251 F.3d 1284, 1290

(10th Cir. 2001). The Tenth Circuit has clarified this standard by stating that the removing

Defendant “must affirmatively establish jurisdiction by proving jurisdictional facts that made it

possible that $75,000 was in play…[i]t is only the jurisdictional facts that must be proven by a

preponderance – not the legal conclusion that the statutory threshold amount is in controversy.”

McPhail, 529 F.3d at 955 (emphasis in original). The Tenth Circuit has noted, however, that a

Plaintiff cannot avoid removal merely by not alleging the jurisdictional amount, as such a

practice/policy would frustrate the purpose of diversity jurisdiction, “which is, after all, to protect

the out- of-state Defendant.” McPhail, 529 F.3d at 955.

               15. To determine whether the amount in controversy requirement is met, a court

may aggregate actual damages, punitive damages, attorney’s fees, and statutorily imposed
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penalties, if any, but not interest or costs. Trujillo v. Reynolds, No. CIV 07-1077 JB/RLP, 2008

WL 2323521, *3 (Jan. 17, 2008).

               16. A removing Defendant may satisfy its burden by proving jurisdictional facts

that make it possible that more than $75,000 is at issue by “rely[ing] on an estimate of the

potential damages from the allegations in the complaint.” Id. In doing this, the Defendant may

specify the numerical value of the damage or may not and just allege that the amount in

controversy exceeds $75,000 by setting out the specific factual allegations supporting that

conclusion. Id. at 956 (citing Luckett v. Delta Airlines, Inc., 171 F.3d 295, 298 (5th Cir. 1999);

see also Hanna v. Miller, 163 F.Supp.2d 1302, 1306 (D.N.M. 2001) (stating that courts may

consider the substance and nature of the injuries and damages described in the pleadings and

finding significant value in Plaintiff’s claims where complaint alleged “severe injuries” and

“permanent impairment”).

               17. The Complaint, pursuant to the New Mexico Rules of Civil Procedure,

contains no allegations for damages in a specific monetary amount. The Complaint, however,

alleges Plaintiff is entitled to compensatory damages for the following categories: bodily injury,

pain and suffering, impairment, disability, disfigurement, mental anguish, loss of enjoyment of

life, aggravation of disease or physical defect, inconvenience, medical expenses, loss of earning,

and loss of ability to earn money, with damages that are ongoing. See Exhibit A, ¶¶ 23, 29, 38

and Prayer for Relief.

               18. Although Defendants do not admit Plaintiff has been damaged in any amount

by any act or omission of either Defendant, based on the damage allegations in the Complaint as

well as the demand issued by Plaintiff, the amount in controversy exceeds $75,000.00, exclusive

of interest and costs, as required for diversity jurisdiction pursuant to 28 U.S.C. §1332.
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                 19. Thus, pursuant to 28 U.S.C. § 1332(a), this Court has jurisdiction over this

matter, in that the parties hereto are citizens of different states and the amount in controversy,

exclusive of interest and costs, is in excess of $75,000.

           IV.      NOTICE OF ADVERSE PARTY AND STATE COURT

                 20. Defendants, upon filing this Notice of Removal, are filing a copy of this

Notice of Removal with the District Clerk of the Thirteenth Judicial District Court in the State of

New Mexico, Cibola County, in accordance with 28 U.S.C. §1446(d). A copy of the Notice of

Filing of Notice of Removal is attached as Exhibit C.

                 21. Pursuant to by 28 U.S.C. Section §1446(d), written notice of removal is being

served on counsel of record.

                         V. FILINGS FROM STATE COURT DOCKET

                 22. Pursuant to D.N.M. LR-CIV 81.1(a) of the Local Civil Rules of the United

States District Court for the District of New Mexico, legible copies of records and proceedings

from the state court action are being filed herewith.

       Defendants reserve, preserve, and do not waive, any and all defenses they may have to

Plaintiff’s Complaint, including without limitation, insufficiency of process, insufficiency of

service of process, lack of jurisdiction over the person and failure to join necessary and

indispensable parties.

       WHEREFORE, Defendants respectfully request that this case be entered upon the docket

of the United States District Court for the District of New Mexico, pursuant to 28 U.S.C. §§

1441 and 1446.
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                                                 Respectfully Submitted,


                                                 BUTT THORNTON & BAEHR PC

                                                 /s/ Monica R. Garcia
                                                 Monica R. Garcia
                                                 P.O. Box 3170
                                                 Albuquerque, New Mexico 87190
                                                 Telephone: (505) 884-0777
                                                 Facsimile: (505) 889-8870
                                                 mrgarcia@btblaw.com
                                                 Attorneys for Defendants
                                                 Donald Blakeley and Market Express, LLC


I HEREBY CERTIFY that on the 14th day of
July 2022, I filed the foregoing electronically
through the CM/ECF filing system, which caused the
following parties or counsel to be served by
electronic means, as more fully reflected on the
Notice of Electronic Filing:

Nicholas A. Norden – nnorden@nordenleacox.com
Attorneys for Plaintiff


/s/ Monica R. Garcia
Monica R. Garcia
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 The JS-44 civil cover sheet and information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by
 law, expect as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use
 of the Clerk of Court for the purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)
 1. (a) PLAINTIFFS                                                                                     DEFENDANTS DONALD BLAKELEY, MARKET EXPRESS, LLC
          JESUS MARTINEZ GOMEZ                                                                         County of Residence of First Listed Defendant: CLARK COUNTY (NV)
                                                                                                                                (IN U.S. PLAINTIFF CASES ONLY)
        (b) County of Residence of First Listed Plaintiff: ORANGE COUNTY (FL)                          NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
                                                                                                               TRACT OF LAND INVOLVED.
   (EXCEPT IN U.S. PLAINTIFF CASES)

 (c) ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER)
                                                                                                            Butt Thornton & Baehr, P.C.
 Nicholas A. Norden, Esq.                                                                                   Monica R. Garcia, Esq.
 Norden Leacox, PLLC                                                                                        4101 Indian School Rd. N.E. #300
 964 Lake Baldwin Lane, Suite 200                                                                           Albuquerque, NM 87110
                                                                                                            Telephone: 505- 884-0777
 Orlando, FL 32814                                                                                          mrgarcia@btblaw.com
 Phone: 407-801-3000
 nnorden@nordenleacox.com
 II. BASIS OF JURISDICTION                  (PLACE AN “X” IN ONE BOX ONLY)              III. CITIZENSHIP OF PRINCIPAL PARTIES (PLACE AN “X” IN ONE BOX FOR PLAINTIFF AND ONE
                                                                                                                                                      BOX FOR DEFENDANT)
                                                                                              (For Diversity Cases Only)
  1 U.S. Government                      3 Federal Question
                                                                                                                             PTF DEF                                                        PTF      DEF
      Plaintiff                             (U.S. Government Not a Party)                     Citizen of This State            1  1          Incorporated or principal Place              4         4
                                                                                                                                                 of Business in This State
  2 U.S. Government                      4 Diversity                                        Citizen of Another State       2       2       Incorporated and principal Place             5            5
      Defendant                              (Indicate Citizenship of parties                                                                    of Business in Another State
                                            in Item III)                                      Citizen or Subject of a        3       3       Foreign Nation                               6            6
                                                                                              Foreign Country
 IV. NATURE OF SUITE (PLACE AN “X” IN ONE BOX ONLY)
           CONTRACT                                               TORTS                                      FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
 110    Insurance                      PERSONAL INJURY                   PERSONAL INJURY                    610 Agriculture                   422 Appeal 28 USC 158             400 State Reapportionment
 120    Marine                        310 Airplane                    362 Personal Injury – Med.          620 Other Food & Drug                                                410 Antitrust
 130    Miller Act                    315 Airplane Product                 Malpractice                                                        423 Withdrawal                    430 Banks and Banking
                                                                                                             625 Drug Related Seizure
 140    Negotiable Instrument              Liability                   365 Personal Injury –                                                       28 USC 157                    450 Commerce/ICC Rates/etc.
                                                                                                                  of Property 21 USC
 150    Recovery of Overpayment       320 Assault Libel &                  Product Liability                                                                                     460 Deportation
         & Enforcement of
                                                                                                                  881                           PROPERTY RIGHTS                    470 Racketeer Influenced and
                                            Slander                     368 Asbestos Personal               630 Liquor Laws
         Judgment                                                                                                                               820 Copyrights                         Corrupt Organizations
                                       330 Federal Employers                Injury Product Liability        640 R.R. & Truck
 151    Medicare Act                                                                                                                           830 Patent                        480 Consumer Credit
 152    Recovery of Defaulted              Liability                                                        650 Airline Regs.                                                    480 Cable/Sat TV
                                                                                                                                                840 Trademark
         Student Loans                 340 Marine                      PERSONAL PROPERTY                    660 Occupational                                                     810 Selective Service
         (Excl. Veterans)              345 Marine Product              370 Other Fraud                          Safety/Heath                                                     850 Securities/Commodities/
 153    Recovery of Overpayment            Liability                   371 Truth in Lending                690 Other                                                                 Exchange
         of Veteran’s Benefits         350 Motor Vehicle               380 Other Personal                                LABOR                SOCIAL SECURITY                    875 Customer Challenge
 160    Stockholders Suits            355 Motor Vehicle                    Property Damage                                                                                            12 USC 3410
 190    Other Contract                     Product Liability           385 Property Damage                 710 Fair Labor Standards         861 HIA (1395 ff)                  890 Other Statutory Actions
 195    Contract Product Liability    360 Other Personal Injury            Product Liability                    Act                                                              891 Agricultural Acts
                                                                                                             720 Labor/Mgmt Relations
                                                                                                                                               862 Black Lung (923)
 196    Franchise                                                                                                                                                                 892 Economic Stabilization
                                                                                                             730 Labor/Mgmt Reporting         863 DIW C/DIW W                         Act
     REAL PROPERTY                          CIVIL RIGHTS                 PRISONER PETITIONS                       & Disclosure Act                     (405(g))                    893 Environmental Matters
                                                                                                             740 Railway Labor Act                                                894 Energy Allocation Act
 210 Land Condemnation                441 Voting                       510 Motions to Vacate                                                864 SSID Title XVI
                                                                                                              790 Other Labor Litigation                                           895 Freedom of Information
 220 Foreclosure                      442 Employment                        Sentence
                                                                                                             791 Empl Ret Inc.                865 RSI (405(g))                        Act
 230 Rent Lease &                     443 Housings                        HABEAS CORPUS:                        Security Act                                                     900    Appeal of Fee Determination
      Ejectment                             Accommodations               530 General                                                           FEDERAL TAX SUITS                          Under Equal Access to
 240 Torts to Land                    444 Welfare                      535 Death Penalty                                                                                                Justice
                                                                                                                                                870 Taxes (U.S. Plaintiff
 245 Tort Product Liability            440 Other Civil Rights           540 Mandamus & Other                                                       or Defendant)                 950 Constitutionality of
                                                                         550 Civil Rights                                                      871 IRS – Third Party                  State Statutes
 290 All other Real Property
                                                                         555 Prison Condition                                                       26 USC 7609

 V. ORIGIN                            (PLACE AN “X” IN ONE BOX ONLY)                                                                                                                          Appeal to District
                                                                                                                                   Transferred from                                           Judge from
  1 Original                    2     Removed from           3 Remanded from              4 Reinstated or               5     another district       6      Multidistrict            7 Magistrate
     Proceeding                         State Court               Appellate Court               Reopened                           (specify)                      Litigation                  Judgment
                                      (Cite the U.S. Civil Statute under which you are filing. (Do not cite jurisdictional statutes unless diversity.):
                                      28 U.S.C. §1441 and 28 U.S.C. §1332
 VI. CAUSE OF ACTION
                                      Brief description of cause: personal injuries and damages arising from motor vehicle accident
 VII. REQUESTED IN                                                                                  DEMAND $                                    CHECK YES only if demanded in Complaint
                                        CHECK IF THIS IS A CLASS ACTION
      COMPLAINT:                                                                                                                                       JURY DEMAND: YES                       NO     X
                                       UNDER F.R.C.P. 23
 VIII.    RELATED CASES(S)            (See instructions)
          IF ANY                                                   JUDGE                                                                         DOCKET NUMBER

 DATE                                                                   SIGNATURE OF ATTORNEY OF RECORD
 July 14, 2022                                                               /s/ Monica R. Garcia
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                                                           EXHIBIT A
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                                                           EXHIBIT A
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                                                           EXHIBIT A
Case 1:22-cv-00521-SCY-JHR Document 1 Filed 07/14/22 Page 11 of 55




                                                           EXHIBIT A
Case 1:22-cv-00521-SCY-JHR Document 1 Filed 07/14/22 Page 12 of 55




                                                           EXHIBIT A
Case 1:22-cv-00521-SCY-JHR Document 1 Filed 07/14/22 Page 13 of 55




                                                           EXHIBIT A
Case 1:22-cv-00521-SCY-JHR Document 1 Filed 07/14/22 Page 14 of 55




                                                           EXHIBIT A
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                                                           EXHIBIT A
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                                      https://securecourtcaseaccess.nmcourts.gov/CaseDetail.aspx?CaseID=8792221

  Skip to Main Content Logout My Account Search Menu Search Refine Search Back                                             Location : All Courts Images

                                                            Re gister of Actions
                                                          Case No. D-1333-CV-2022-00090

 Jesus Martinez Gomez v. Donald Blakeley, et. al.                             §                            Case Type: Tort Auto
                                                                              §                            Date Filed: 05/18/2022
                                                                              §                              Location:
                                                                              §                        Judicial Officer: Villalobos, Amanda Sanchez
                                                                              §
                                                                              §


                                                                      Party Information

                                                                                                                            Attorneys
 Defendant      Blakeley, Donald                                              Male
                 231 W. Horizon Ridge Pkwy
                 Apt 5
                 Henderson, NV 89012


 Defendant      Market Express LLC
                 10400 N. Vancouver Way
                 Portland, OR 97217


 Plaintiff      Martinez Gomez, Jesus                                         Male                                          Nicholas Norden
                 3936 S. Semoran Blvd.                                        DOB: 02/04/1968                                Retained
                 Ste. 434                                                                                                   407-801-3000(W)
                 Orlando, FL 32822


                                                                 Events & Orders of the Court

            OTHER EVENTS AND HEARINGS
 05/18/2022 ARB: CERT NOT SUBJECT
              Certificate Regarding Arbitration Under Rule 603
 05/18/2022 JURY DEMAND 6 PERSON
 05/18/2022 OPN: PETITION
              Complaint for Negligence, and Personal Injuries
 05/19/2022 Cause Of Actions              Miscellaneous
            Action Type                   Action
 05/23/2022 Summons
               Market Express LLC                                      Served                    06/14/2022
                                                                       Response Due              07/14/2022
 05/23/2022 Summons
              Blakeley, Donald                                         Unserved
 05/23/2022 CERTIFICATE OF SERVICE
             Discovery
 05/23/2022 CERTIFICATE OF SERVICE
             Discovery
 06/17/2022 AFFIDAVIT OF SERVICE
             served June 14, 2022


                                                                    Financial Information



             Plaintiff Martinez Gomez, Jesus
             Total Financial Assessment                                                                                                               282.00
             Total Payments and Credits                                                                                                               282.00
             Balance Due as of 07/14/2022                                                                                                               0.00

 05/19/2022 Transaction Assessment                                                                                                                 282.00
 05/19/2022 File & Serve Payment         Receipt # GRAD-2022-365                                Martinez Gomez, Jesus                            (282.00)




                                                                                                                            EXHIBIT B
https://securecourtcaseaccess.nmcourts.gov/CaseDetail.aspx?CaseID=8792221                                                                                 1/1
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STATE OF NEW MEXICO
COUNTY OF CIBOLA
THIRTEENTH JUDICIAL DISTRICT

JESUS MARTINEZ GOMEZ,

              Plaintiff,

v.                                                  Case No. D-1333-CV-2022-00090

DONALD BLAKELEY and
MARKET EXPRESS, LLC,

              Defendants.


                           NOTICE OF FILING OF NOTICE OF REMOVAL

       Defendants hereby notify the Court that on July 14, 2022, they filed a Notice of Removal

of the above captioned matter in the United States District Court for the District of New Mexico. A

copy of the Notice of Removal is attached as Exhibit A. Accordingly, and pursuant to 28 U.S.C. §

1446(d), this Court may proceed no further unless and until the case is remanded.


                                                    Respectfully Submitted,

                                                    BUTT THORNTON & BAEHR PC

                                                    /s/ Monica R. Garcia
                                                    Monica R. Garcia
                                                    P.O. Box 3170
                                                    Albuquerque, New Mexico 87190
                                                    Telephone: (505) 884-0777
                                                    Facsimile: (505) 889-8870
                                                    mrgarcia@btblaw.com
                                                    Attorneys for Defendants
                                                    Donald Blakeley and Market Express, LLC




                                                                                     EXHIBIT C
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I HEREBY CERTIFY that on the 14th day of
July 2022, I filed the foregoing electronically
through the electronic filing system, which caused the
following parties or counsel to be served by
electronic means, as more fully reflected on the
Notice of Electronic Filing:

Nicholas A. Norden – nnorden@nordenleacox.com
Attorneys for Plaintiff


/s/ Monica R. Garcia
Monica R. Garcia




                                                                    EXHIBIT C
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